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                                       #:156


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11

12                          UNITED STATES DISTRICT COURT

13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                 WESTERN DIVISION

15   UNITED STATES OF AMERICA,               No. 2:21−CV−04569-JAK-KS

16             Plaintiff,                    RESPONSE TO ORDER TO SHOW CAUSE

17                   v.

18   REAL PROPERTY LOCATED IN
     MALIBU, CALIFORNIA,
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               Defendant.
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                          RESPONSE TO ORDER TO SHOW CAUSE
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          1.    On September 21, 2021, the Court issued an Order to Show
23
     Cause Regarding Dismissal for Lack of Prosecution regarding the
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     defendant in this action, Real Property Location in Malibu,
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     California (the “Defendant Property”), ordering the government to
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     show cause, on or before September 28, 2021, why this action should
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     not be dismissed for lack of prosecution.
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 1        2.     The government filed the complaint for forfeiture in this

 2   action on June 3, 2021. See ECF No. 1.

 3        3.     Pursuant to Supplemental Rule G(5) of the Federal Rules of

 4   Civil Procedure, claims and answers to the complaint were due no

 5   later than September 3, 2021.

 6        4.     To date, no claims have been filed to the Defendant

 7   Property.

 8        5.     The government has received one document purporting to be

 9   a Motion to Dismiss in lieu of an answer from one potential pro se

10   claimant to the Defendant Property. On August 6, 2021, the

11   government gave notice to the Court of receipt of this document, by

12   filing a copy of this motion and related documents. See ECF No. 10.

13        6.     On August 27, 2021, the government filed an opposition to

14   the potential claimant’s motion. See ECF No. 11. 1 As of this filing,

15   the motion is pending.

16        7.     As no claims have been filed, notwithstanding the pending

17   motion to dismiss, the government will request the entry of default

18   against the interests of all claimants, known and unknown, within 14

19   days of the filing this response, October 6, 2021.

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22        1 As described in the opposition (ECF No. 11, at 1, n.1), the
     government takes the position that this potential claimant has, at
23   most, filed a responsive pleading, but nonetheless has failed to
     file a claim as required by Supp. Rule G(5). The Court, however,
24   does have discretion to extend the potential claimant’s time to file
     a claim, if the Court finds good cause to do so. See Supp. Rule
25   G(5)(A)(ii). The government respectfully submits that no such good
     cause exists here, where the potential claimant has been served and
26   has filed a responsive pleading, but has still failed to file a
     claim as required.
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 1        8.    The government has been diligently prosecuting this case,

 2   including by responding to the motion to dismiss and accompanying

 3   interactions with a pro se potential claimant.           Dismissal for lack

 4   of prosecution would therefore be improper.

 5        9.    Plaintiff respectfully requests, therefore, that the Order

 6   to Show Cause be discharged and plaintiff be allowed to continue to

 7   prosecute this matter.

 8

 9   DATED: September 22, 2021          TRACY L. WILKISON
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14                                           /s/ Dan G. Boyle
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